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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

                                 Case No. 6:19-cv-01231-CEM-EJK

    SURGERY CENTER OF VIERA, LLC,

                   Plaintiff,

    v.

    CIGNA HEALTH AND LIFE INSURANCE
    COMPANY, HARRIS MEDICAL PLAN,
    AND HARRIS CORPORATION,

                   Defendants.
                                                   /

                 JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

           The parties, by and through undersigned counsel and pursuant to Federal Rule of Civil

    Procedure 41(a)(1)(A)(ii), hereby jointly stipulate as to the dismissal of the above-styled action

    with prejudice pursuant to an amicable resolution achieved between the parties. The parties to

    this stipulation are to bear their own fees and costs.

    Respectfully Submitted,

  Dated: December 23, 2020

  /s/ Jeffrey L. Greyber                                     /s/ Shari Gerson
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 23, 2020, I electronically filed the foregoing

  documents with the Clerk of the Court by using CM / ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.

                                                         /s/ Jeffrey L. Greyber
                                                         Jeffrey L. Greyber, Esq.




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